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                           UNITED STATES DISTRICT COURT

                           SOUTHERN DISTRICT OF FLORIDA

                              Case No. 20-21107-Civ-SCOLA
                             (Consolidated with No. 20-21386)

  ERIC DOUGLAS, Individually and on Behalf )    CLASS ACTION
  of All Others Similarly Situated,         )
                                            )
                                Plaintiff,  )
                                            )
          vs.                               )
                                            )
  NORWEGIAN CRUISE LINES, et al.,           )
                                            )
                                Defendants.
                                            )
                                            )



          MOTION AND INCORPORATED MEMORANDUM OF LAW OF
    EMPLOYER-TEAMSTERS LOCAL NOS. 175 & 505 PENSION TRUST FUND FOR
   CONSOLIDATION OF RELATED ACTIONS, APPOINTMENT AS LEAD PLAINTIFF,
               AND APPROVAL OF SELECTION OF COUNSEL
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                                              MOTION1

         Proposed Lead Plaintiff Employer-Teamsters Local Nos. 175 & 505 Pension Trust Fund

  (the “Pension Trust Fund”) hereby moves this Court for an Order: (1) consolidating the Related

  Actions: (2) appointing the Pension Trust Fund as Lead Plaintiff pursuant to the Private Securities

  Litigation Reform Act of 1995 (“PSLRA”), 15 U.S.C. §78u-4; (3) approving the Pension Trust

  Fund’s selection of Robbins Geller Rudman & Dowd LLP as Lead Counsel; and (4) granting such

  other and further relief as the Court may deem just and proper.2

                                    MEMORANDUM OF LAW

  I.     PRELIMINARY STATEMENT

         Presently pending in this District are two securities class action lawsuits brought on behalf

  of all those who purchased Norwegian Cruise Line Holdings Ltd. (“Norwegian” or the

  “Company”) securities between February 20, 2020 and March 12, 2020, inclusive (the “Class

  Period”). The Related Actions allege violations of Sections 10(b) and 20(a) of the Securities


  1
      Counsel for the Pension Trust Fund is aware of the directive in Local Rule 7.1(a)(3) requiring
  that a moving party confer with counsel for the opposing party in a good faith effort to resolve the
  issues raised by the motion. However, the lead plaintiff appointment process set up by the PSLRA,
  as described herein, makes this practice difficult, if not impossible. While all potential parties to
  the Action should be aware of the filing date, counsel for the Pension Trust Fund cannot determine
  who else may move for appointment as lead plaintiff at this time. Accordingly, counsel for the
  Pension Trust Fund requests leave from the meet-and-confer requirement of Local Rule 7.1(a)(3)
  with respect to the filing of this motion.
  2
      The Related Actions are Douglas v. Norwegian Cruise Lines, Case No. 1:20-cv-21107-RNS
  (which was consolidated with Atachbarian v. Norwegian Cruise Lines, Case No. 1:20-cv-21386-
  RNS, by Order of this Court on April 10, 2020) [Douglas, ECF No. 7], and Banuelos v. Norwegian
  Cruise Lines No. 1:20-cv-21685-JEM, filed April 22, 2020. Concurrent with this motion, the
  Pension Trust Fund has filed a Notice of Filing in the Banuelos action, advising of the Pension
  Trust Fund’s instant motion before this Court and requesting that, pursuant to IOP 2.06.00 of the
  Internal Operating Procedures of the United States District Court for the Southern District of
  Florida, the Banuleos action be transferred to this Court for consolidation.

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  Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§78j(b) and 78t(a), as amended by the

  PSLRA and Securities and Exchange Commission (“SEC”) Rule 10b-5 promulgated thereunder

  (17 C.F.R. §240.10b-5).

          The PSLRA requires district courts to resolve consolidation before appointing a lead

  plaintiff in securities cases. See 15 U.S.C. §78u-4(a)(3)(B)(ii). Here, the Related Actions should

  be consolidated because each asserts identical claims against identical defendants on behalf of an

  identical class of investors that purchased Norwegian securities during the same Class Period. See

  Fed. R. Civ. P. 42(a); §III.B., infra.

          As soon as practicable after consolidating the related actions, the PSLRA requires courts

  to “appoint the most adequate plaintiff as lead plaintiff.” 15 U.S.C. §78u-4(a)(3)(B)(ii). The most

  adequate plaintiff is the movant “that the court determines to be most capable of adequately

  representing the interests of class members.” 15 U.S.C. §78u-4(a)(3)(B)(iii). Local the Pension

  Trust Fund should be appointed Lead Plaintiff because it filed a timely motion, has a significant

  financial interest in the outcome of the litigation, and will typically and adequately represent the

  class’ interests. See 15 U.S.C. §78u-4(a)(3)(B)(iii). In addition, the Pension Trust Fund’s selection

  of Robbins Geller to serve as Lead Counsel should be approved because the Firm possesses

  extensive experience prosecuting securities class actions and will adequately represent the interests

  of all class members.

  II.     FACTUAL BACKGROUND

          Norwegian is a global cruise company that operates the Norwegian Cruise Line, Oceania

  Cruise Line, Oceania Cruises, and Regent Seven Seas Cruises brands. The Related Actions allege

  that throughout the Class Period, defendants made materially false and misleading statements



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  regarding the Company’s business, operational, and compliance policies. Specifically, defendants

  made false and/or misleading statements and/or failed to disclose that: (i) the Company was

  employing sales tactics of providing customers with unproven and/or blatantly false statements

  about COVID-19 to entice customers to purchase cruises, thus endangering the lives of both their

  customers and crew members; and (ii) as a result, defendants’ statements regarding the Company’s

  business and operations were materially false and misleading and/or lacked a reasonable basis at

  all relevant times.

         On March 11, 2020, the Miami New Times reported in the article “Leaked Emails:

  Norwegian Pressures Sales Team to Mislead Potential Customers About Coronavirus” that leaked

  emails from a Norwegian employee showed that the Company directed its sales staff to lie to

  customers regarding COVID-19. On this news, the Company’s shares fell $5.47 per share or

  approximately 26.7% to close at $15.03 per share on March 11, 2020, damaging investors.

         Then, on March 12, 2020, the Washington Post published the article, “Norwegian Cruise

  Line managers urged salespeople to spread falsehoods about coronavirus.” The article revealed

  even more about Norwegian’s sales tactics from leaked internal memoranda including dangerous

  statements such as:

         Focusing all of your attention is actually illogical, especially when we live in a
         world of daily threats and dangers anyhow,” the manager wrote under the headline
         “The coronavirus will not affect you.” “Fact: Coronavirus in humans is an
         overhyped pandemic scare.

         On this news, the Company’s shares fell a further $5.38 or approximately 35.8% to close

  at $9.65 on March 12, 2020, further damaging investors.




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  III.   ARGUMENT

         A.      The Related Actions Pending in this District Should be Consolidated

         The PSLRA provides that “[i]f more than one action on behalf of a class asserting

  substantially the same claim or claims arising under this title has been filed,” the court shall not

  appoint a lead plaintiff until “after the decision on the motion to consolidate is rendered.” 15

  U.S.C. §78u-4(a)(3)(B)(ii). Under Federal Rules of Civil Procedure 42(a), consolidation is

  appropriate when the actions involve common questions of law or fact. See Fed. R. Civ. P. 42(a).

  Here, the Related Actions present identical factual and legal issues, allege identical claims in an

  identical class period, and name identical defendants. Compare Douglas, ECF No. 1 with Banuelo,

  ECF No. 1. Accordingly, the Related Actions should be consolidated.

         B.      The Pension Trust Fund Should Be Appointed Lead Plaintiff

                 1.      The Procedure Required by the PSLRA

         The PSLRA has established a procedure that governs the appointment of a lead plaintiff in

  “each private action arising under the [Exchange Act] that is brought as a plaintiff class action

  pursuant to the Federal Rules of Civil Procedure.” 15 U.S.C. §78u-4(a)(1) and (a)(3)(B)(i).

         First, the plaintiff who files the initial action must publish a notice to the class, within 20

  days of filing the action, informing class members of their right to file a motion for appointment

  as lead plaintiff. 15 U.S.C. §78u-4(a)(3)(A)(i). Here, notice regarding the pendency of the first-

  filed Douglas action was published on Business Wire, a national, business-oriented newswire

  service, on March 12, 2020. See Tirabassi Decl. Ex. C. Within 60 days after publication of the

  notice, any person who is a member of the proposed class may apply to the Court to be appointed




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  as lead plaintiff, whether or not they have previously filed a complaint in the action. 15 U.S.C.

  §78u-4(a)(3)(A)-(B).

         Second, the PSLRA provides that, within 90 days after publication of the notice, the Court

  shall consider any motion made by a class member and shall appoint as lead plaintiff the member

  of the class that the Court determines to be most capable of adequately representing the interests

  of class members. 15 U.S.C. §78u-4(a)(3)(B). In determining the “most adequate plaintiff,” the

  PSLRA provides that:

         [T]he court shall adopt a presumption that the most adequate plaintiff in any private
         action arising under this [Act] is the person or group of persons that –

         (aa) has either filed the complaint or made a motion in response to a notice . . . ;

         (bb) in the determination of the court, has the largest financial interest in the relief
         sought by the class; and

         (cc) otherwise satisfies the requirements of Rule 23 of the Federal Rules of Civil
         Procedure.

  15 U.S.C. §78u-4(a)(3)(B)(iii); see also Luczak v. Nat’l Bev. Corp., No. 0:18-cv-61631-KMM,

  2018 U.S. Dist. LEXIS 229976, at *2 (S.D. Fla. Oct. 12, 2018). 3

                 2.      The Pension Trust Fund Satisfies the “Lead Plaintiff”
                         Requirements of the PSLRA

                         a.      The Pension Trust Fund Has Timely Filed a Lead
                                 Plaintiff Motion

         According to the published notice, the time period in which class members may move to

  be appointed lead plaintiff herein under the PSLRA expires on May 11, 2020. See 15 U.S.C. §78u-

  4(a)(3)(A)-(B). Pursuant to the provisions of the PSLRA, and within the requisite time frame after


  3
      Citations, internal quotations, and footnotes omitted and emphasis added unless noted
  otherwise.

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  publication of the required notice (published on March 12, 2020), the Pension Trust Fund timely

  moves this Court to be appointed Lead Plaintiff on behalf of all members of the class. Because

  the Pension Trust Fund’s motion has been timely filed, it is eligible for appointment as lead

  plaintiff.

                         b.     The Pension Trust Fund Has the Requisite Financial
                                Interest in the Relief Sought by the Class

          During the Class Period, the Pension Trust Fund purchased 6,900 shares of Norwegian

  stock and suffered approximately $136,074 in losses as the market began to learn the truth about

  defendants’ allegedly false misrepresentations and omissions and the price of Norwegian stock

  declined. See Tirabassi Decl., Exs. A, B. To the best of its counsel’s knowledge, there are no

  other plaintiffs with a larger financial interest during the Class Period. Therefore, the Pension

  Trust Fund satisfies the PSLRA’s prerequisite of having the largest financial interest.

                         c.     The Pension Trust Fund Otherwise Satisfies Rule 23

          At this stage, the lead plaintiff movant need only make a prima facie showing that the Rule

  23(a) requirements of typicality and adequacy are met. Luczak, 2018 U.S. Dist. LEXIS 229976,

  at *4. “The typicality requirement is satisfied where the ‘named representatives’ claims share the

  same essential characteristics as the claims of the class at large.’” Id. at *4-5 (citing that “[a]

  sufficient nexus is established if the claims or defenses of the class and the class representative

  arise from the same event or pattern or practice and are based on the same legal theory.”). The

  adequacy requirement involves “a preliminary showing that ‘(1) class counsel is qualified,

  experienced, and generally able to conduct the litigation; (2) the class members’ interests are not

  antagonistic to one another; and (3) the class has sufficient interest in the outcome of the case to

  ensure vigorous advocacy.’” Id. at *5. Here, the Pension Trust Fund satisfies these requirements.


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          Indeed, the Pension Trust Fund’s claims arise out of the same events and are based on the

  same legal theories as the claims of other class members. In addition, the Pension Trust Fund’s

  interests are clearly aligned with the members of the class and there is no antagonism between his

  interests and the class members’ interests. The Pension Trust Fund has amply demonstrated its

  adequacy by signing a sworn Certification affirming its willingness to serve as, and to assume the

  responsibilities of, class representative. See Tirabassi Decl., Ex. A. In addition, the Pension Trust

  Fund has selected counsel experienced in prosecuting securities class actions to represent him and

  the class. See infra §III.C.

          Moreover, the Pension Trust Fund, an institutional investor, is precisely the type of investor

  whose participation in securities class actions Congress sought to encourage through the enactment

  of the PSLRA: “Both the Conference Committee Report and the Senate Report state that the

  purpose of the legislation was to encourage institutional investors to serve as lead plaintiff,

  predicting that their involvement would significantly benefit absent classmembers.” In re Cendant

  Corp. Litig., 264 F.3d 201, 273 (3d Cir. 2001); see also City Pension Fund v. Aracruz, No. 08-

  23317-CIV-LENARD/GARBER, 2009 U.S. Dist. LEXIS 140999, at *13 (S.D. Fla. Aug. 7, 2009)

  (“Institutional investors . . . . are generally preferred to individual investors for the reason that they

  are typically better equipped to represent the interests of the class and supervise litigation.”).

  Because the Pension Trust Fund filed a timely motion, has the largest financial interest in the relief

  sought by the class, and is typical and adequate of the putative class, the Court should adopt the

  presumption that it is the presumptive lead plaintiff.




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          C.      The Court Should Approve the Pension Trust Fund’s Choice of Counsel

          The PSLRA vests authority in the lead plaintiff to select and retain lead counsel, subject to

   the Court’s approval. 15 U.S.C. §78u-4(a)(3)(B)(v). The Pension Trust Fund has selected Robbins

   Geller to serve as Lead Counsel.

          With more than 200 attorneys in offices nationwide, Robbins Geller possesses substantial

   experience litigating complex securities litigation like this case. District courts throughout the

   nation, including this District, have noted Robbins Geller’s reputation for excellence, resulting in

   the appointment of Robbins Geller to lead roles in hundreds of complex securities class action

   cases.4 See, e.g., Henningsen v. ADT Corp., Case No. 14-cv-80566-WPD (S.D. Fla. July 14, 2014)

   (appointing Robbins Geller as Lead Counsel); McIlvaine v. Arthrocare Corp., No. 9:08-cv-80343-

   KLR (S.D. Fla. July 16, 2008) (“Upon review of the firm’s credentials, this Court finds that

   [Robbins Geller] possess the requisite experience in litigating securities class actions to represent

   the interests of the potential class members.”); see also Climo v. Office Depot, Inc., Case No. 11-

   cv-80364-KLR, (S.D. Fla. July 5, 2011) (approving of selection of Robbins Geller); Edward J.

   Goodman Life Income Trust v. Jabil Circuit, Inc., No. 8:06-CV-1716-T-23EAJ, 2007 U.S. Dist.

   LEXIS 3592, at *4 (M.D. Fla. Jan. 18, 2007) (same); In re Enron Corp. Sec., Derivative & ERISA

   Litig., 586 F. Supp. 2d 732, 797 (S.D. Tex. 2008) (commenting that the “experience, ability, and

   reputation of the attorneys of [Robbins Geller] is not disputed; it is one of the most successful law

   firms in securities class actions, if not the preeminent one, in the country”).




   4
       For a detailed description of Robbins Geller’s track record, resources, and attorneys, please
   see https://www.rgrdlaw.com. An electronic or paper version of the Firm’s resume is available
   upon the Court’s request, if preferred.

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          Robbins Geller’s securities department includes numerous trial attorneys and many former

   federal and state prosecutors, and utilizes an extensive group of in-house experts to aid in the

   prosecution of complex securities issues. And, while trials in shareholder class actions are rare,

   Robbins Geller has tried nine cases to verdict, including a February 2019 trial in HsingChing Hsu

   v. Puma Biotechnology, Inc., No. 8:15-cv-00865-AG-JCG (C.D. Cal.), where the jury returned a

   plaintiffs’ verdict, finding that defendants Puma Biotechnology, Inc. and its CEO, Alan H.

   Auerbach, committed securities fraud, and awarded shareholders tens of millions of dollars in

   damages.

          Notably, in the first few months of 2020 alone, Robbins Geller has recovered more than

   $2.5 billion on behalf of investors in securities class action cases, including $1.02 billion in In re

   Am. Realty Capital Props., Inc. Litig., No. 1:15-mc-00040-AKH, (S.D.N.Y.); $1.21 billion in In

   re Valeant Pharm. Int’l, Inc. Sec. Litig., No. 3:15-cv-07658-MAS-LHG (D.N.J.) (pending final

   approval); and $350 million in Smilovits v. First Solar, Inc., No. 2:12-cv-00555-DGC (D.C. Ariz.)

   (pending final approval). Robbins Geller has also obtained the largest securities fraud class action

   recoveries in the Eleventh Circuit, as well as in the Fifth, Sixth, Seventh, Eighth, and Tenth

   Circuits.5



   5
        See In re Enron Corp. Sec. Litig., No. 4:01-cv-03624 (S.D. Tex.) ($7.3 billion recovery is
   largest securities class action recovery in U.S. history and in the Fifth Circuit); In re Cardinal
   Health, Inc. Sec. Litig., No. 2:04-cv-00575-ALM (S.D. Ohio) ($600 million recovery is the largest
   securities class action recovery in the Sixth Circuit); Jaffe v. Household Int’l, Inc., No. 02-C-05893
   (N.D. Ill.) ($1.575 billion recovery is the largest securities class action recovery ever following a
   trial as well as the largest securities class action recovery in the Seventh Circuit); In re
   UnitedHealth Group Inc. Sec. Litig., No. 0:06-cv-01691-JMR-FLN (D. Minn.) ($925 million
   recovery is the largest securities class action recovery in the Eighth Circuit); In re Qwest
   Commc’ns Int’l, Inc. Sec. Litig., No. 1:01-cv-01451-REB-KLM (D. Colo.) ($445 million recovery
   is the largest securities class action recovery in the Tenth Circuit); In re HealthSouth Corp. Sec.

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          Thus, the Court can be assured that the class will receive the highest caliber of legal

   representation should it approve the Pension Trust Fund’s selection of Robbins Geller as Lead

   Counsel for the putative class.

   IV.    CONCLUSION

          For all the foregoing reasons, the Pension Trust Fund respectfully requests that the Court:

   (i) consolidate the Related Actions; (ii) appoint the Pension Trust Fund as Lead Plaintiff; (iii)

   approve the Pension Trust Fund’s selection of Robbins Geller as Lead Counsel as set forth herein;

   and (iv) grant such other relief as the Court may deem just and proper.

    DATED: May 11, 2020                           ROBBINS GELLER RUDMAN & DOWD LLP
                                                  JACK REISE
                                                  Florida Bar No. 058149
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   Litig., No. 2:03-cv-01500-KOB-TMP (N.D. Ala.) ($671 million recovery is the largest securities
   class action recovery in the Eleventh Circuit).

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                                       [Proposed] Lead Plaintiff for [Proposed] Lead
                                       Plaintiff

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                                       Additional Counsel for [Proposed] Lead Plaintiff




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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on May 11, 2020, I electronically filed the foregoing with the

   Clerk of Court using the CM/ECF system, which will send a Notice of Electronic Filing to all

   counsel of record.




                                                            s/ Sabrina E. Tirabassi
                                                          SABRINA E. TIRABASSI
                                                          (Florida Bar No. 0025521)




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